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CYRUS R. VANCE, JR.

   DISTRICT ATTORNEY




                                                                      September 11, 2015
   BY ECF
   Honorable James C. Francis, IV
   United States Magistrate Judge
   Southern District of New York
   500 Pearl Street
   New York, New York 10007

                       Re:   Diaz v. City of New York, et al., 13 Civ. 8281 (JCF)

   Dear Judge Francis,

                  On behalf of Investigator Jose Flores of the New York County District
   Attorney’s Office (“DANY”) and the City of New York, we write to oppose plaintiff Denise
   Diaz’s motion to amend her complaint to substitute Brandon del Pozo for John Doe 1.

                       I.    Relevant Facts

                   Diaz, who is a Sergeant with the NYPD, filed this lawsuit on November 20,
   2013 against the City of New York, John Doe 1, John Doe 2, and Flores. DE 1. On April
   11, 2014, Diaz filed an amended complaint which added DANY, the NYPD, and Police
   Commissioner Raymond Kelly as defendants. DE 8.

                    In the amended complaint, Diaz alleges that she was falsely arrested by
   Flores and John Doe 1 on November 24, 2010 at her home in the Bronx. DE 8, ¶¶3, 27, 35.
   On that date, Flores and other members of DANY’s detective squad were present at Diaz’s
   home to arrest her husband, George Castro, and to execute a search warrant in connection
   with DANY’s investigation into Castro’s theft of millions of dollars from Columbia
   University. Id., ¶¶27, 59. After it was discovered that Castro’s wife was a Sergeant, DANY
   investigators notified the NYPD. See id., ¶31.

                   John Doe 1, identified in the amended complaint as a Duty Captain from a
   Bronx precinct, responded to Diaz’s home. Id., ¶33. Diaz alleges that Flores stated loudly
   that Diaz was “associating with a known felon” and informed John Doe 1 that she was
   “under,” as in, under arrest. Id., ¶¶33-34. Diaz alleges that John Doe 1 then directed that
   Diaz be arrested, taken to the 43rd precinct, and detained for interrogation. Id., ¶35.

                  The City, Commissioner Kelly, and Flores filed motions to dismiss. DE 35-
   37, 43-46. As Diaz never identified John Doe 1, the Law Department did not make any
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arguments on his behalf. DE 36. On February 2, 2015, Judge Crotty dismissed all claims
except for the false arrest claim against Flores and John Doe 1. DE 53.

                The attorneys for Diaz and Flores appeared for an initial conference before
Your Honor on April 13, 2015. DE 57. The close of discovery was set for August 31, 2015.
Id. On May 29, 2015, DANY identified Brandon del Pozo as the Bronx Duty Captain who
ordered that Diaz report to the 43rd precinct and provided del Pozo’s current rank and
service address. Exh. A [5/29/15 Ltr], p. 2-3. Throughout discovery, Diaz did not attempt
to amend the complaint to substitute del Pozo for John Doe 1.

                At 6:50 p.m. on August 31, 2015, Diaz filed a letter requesting a two-month
extension of discovery over Flores’ objection. DE 59-59. On September 1, 2015, Your
Honor extended discovery by one month, until October 30, 2015.

                 II.     Argument

                A motion to amend “should generally be denied in instances of futility,
undue delay, bad faith or dilatory motive, repeated failure to cure deficiencies . . ., or undue
prejudice to the non-moving party.” Burch v. Pioneer Credit Recovery, Inc., 551 F.3d 122, 126 (2d
Cir. 2006). An amendment is futile if the claim to be added would be barred by the
applicable statute of limitations. Grace v. Rosenstock, 228 F.3d 40, 53 (2d Cir. 2000).

                a.      Futility

                  Diaz’s false arrest claim against del Pozo is untimely and does not relate back
to the filing of the original complaint. The statute of limitations for §1983 actions arising in
New York is three years, Shomo v. City of New York, 579 F.3d 176, 181 (2d Cir. 2009), and
false arrest claims accrue “when the alleged false imprisonment ends.” Wallace v. Kato, 549
U.S. 384, 388 (2007). Under Rule 15(c)(1)(C), an amendment to change the party against
whom a claim is asserted will relate back only if all of the following criteria are met:

                (1) the claim must have arisen out of conduct set out in the original
                pleading; (2) the party to be brought in must have received such
                notice that it will not be prejudiced in maintaining its defense; (3) that
                party should have known that, but for a mistake of identity, the
                original action would have been brought against it; and ... (4) the
                second and third criteria are fulfilled within 120 days of the filing of
                the original complaint, and ... the original complaint [was] filed within
                the limitations period.

Hogan v. Fischer, 738 F.3d 509 (2d Cir. 2013) (emphasis added).

                 As Diaz was released on the same date as her alleged arrest, DE 8, ¶40, the
statute of limitations on her false arrest claim ran on November 24, 2013. Diaz’s proposed
amendment does not satisfy the second through fourth requirements to relate back. With
respect to the third requirement, in particular, “lack of knowledge of a John Doe defendant’s
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name does not constitute a ‘mistake of identity.’” Hogan, supra, 518. With respect to the
second, third, and fourth requirements, Diaz does not assert that she made any attempt to
contact, depose, or name del Pozo – either directly or through the Law Department or the
NYPD’s Legal Bureau – within 120 days from the filing of the original complaint, which
would have been on or before March 20, 2014.

                 Diaz’s proposed amendment is futile for another reason – her false arrest
claim fails as a matter of law. As explained in Flores’ opposition to Diaz’s request for an
extension of discovery, Captain del Pozo ordered that Diaz be placed on duty and that she
report to the 43rd precinct under the recognized authority of the NYPD to detain its officers
in order to investigate their conduct. DE 59, 2. Diaz’s husband stole over five million
dollars and was arrested leaving Diaz’s home carrying a backpack containing her NYPD
shield and hundreds of thousands of dollars in cash. Id., 1. The NYPD’s Internal Affairs
Bureau opened an investigation into Diaz immediately after learning that she was present at
the scene of Castro’s arrest. Id., 1-2. Diaz’s claim that she was arrested is belied by the fact
that she requested and received eleven hours of overtime payment in connection with the
time that she spent on duty pursuant to del Pozo’s order. Id., 2.

                b.      Undue Delay & Prejudice

                 Diaz, a member of the NYPD herself, has offered no explanation for her
inability to identify the Duty Captain. At her deposition, Diaz testified that she called Bronx
Patrol Bureau on the morning of the incident and spoke to Police Officer Laura Perez who
gave her the name and cell phone number of the Duty Captain. Exh. B [Diaz dep.], p.
174:23-177:12. Even if Diaz later misplaced the information, as she claimed at her
deposition, she has the means to identify a fellow officer. Nothing prevented her from
inquiring of coworkers or consulting the NYPD roster. Even after DANY produced
paperwork identifying del Pozo as the Duty Captain and providing his service address, Diaz
waited three months and one discovery extension to file a motion to amend.

                 In July, 2015, del Pozo retired from the NYPD with the rank of Deputy
Inspector and moved to Vermont to assume the role of Burlington Police Chief. The
prejudice to del Pozo inherent in Diaz’s attempt to name him as a defendant nearly five
years after the underlying incident and nearly two years after the expiration of the statute of
limitations is aggravated by the fact that he no longer lives in New York, no longer works for
the NYPD, and has assumed a new and demanding position elsewhere.

               For these reasons, Flores and the City oppose Diaz’s motion to amend the
complaint to substitute Brandon del Pozo for John Doe 1.


                                                        Respectfully submitted,

                                                             /s
                                                        ADA Elizabeth N. Krasnow
                                                        ACC Ariel Lichterman
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